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                                       UNITED STATES DISTRICT COURT

                                       MIDDLE DISTRICT OF LOUISIANA

             KENNETH RAY BRADFORD
                                                                       MISCELLANEOUS ACTION
             VERSUS
                                                                       NO. 20-119-JWD-EWD
             KENNETH RAY BRADFORD
                                                      OPINION

                    After independently reviewing the entire record in this case and for the reasons set

             forth in the Magistrate Judge's Report (Doc. 2) dated September 25, 2020, to which no

             objection was filed;

                    IT IS ORDERED that the Motion for Writ of Execution, filed by Kenneth Ray

             Bradford, is DENIED.

                    IT IS FURTHER ORDERED that an Order pursuant to 28 U.S.C. § 1651 barring

             Plaintiff from filing any future suits or actions without first obtaining leave from a judge of

             this Court shall be issued.

                    Judgment shall be entered accordingly.

                    Signed in Baton Rouge, Louisiana, on October 19, 2020.

                                                                  S
                                                    JUDGE JOHN W. deGRAVELLES
                                                    UNITED STATES DISTRICT COURT
                                                    MIDDLE DISTRICT OF LOUISIANA




Operations
